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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DIsTRlCT CoURT

for the

Southern District of Alabama

Richard L. Jernigan, Jr.

 

Plaintl'jj”(s)

V.

v

Civil Action No. 1-18-CV-OO344-JB-N

Pa|mer Recovery Attorneys, PLLC

 

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Defena'ant(s)
SUMMONS IN A CIVIL ACTION

TOZ (Defendant ’s name and address)
Pa|mer Recovery A$ttorneys, PLLC
c/o Aaron James l\/|`orse
260 Wekiva Springs Rd.
Suite 2090
Longwood, FL 32779

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are:

Henry H. Brewster

Henry Brewster, LLC
205 N. Conception Street
l\/|obi|e, AL 36603

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CHARLES R. DIARD, ]R.
CLERK OF COURT

WM&M

Date; August 13, 2018

 

 

Sz'gnature ofCler/c or Deputy Clerk

 

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1-18-cv-00344-JB-N

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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PS Form 3811, Juiy 2015 PSN 7530-02-000-9053 Domestic F,'
My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

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Prz'nted name and title

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Server s address

Additional information regarding attempted service, etc:

   

